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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CHARLES M. KUPPERMAN                               )
                                                   )
                       Plaintiff,                  )
                                                   )
       v.                                          ) Civil Action No. 19-3224 (RJL)
                                                   )
UNITED STATES HOUSE OF                             )
REPRESENTATIVES, et al.,                           )
                                                   )
                       Defendant.



                                                 NOTICE

       I write to answer a question posed by the Court at the October 31, 2019, status conference

in this case and to seek clarification of the Court’s briefing order in light of remarks made by the

Court at that status conference.

       1. The Court asked whether Plaintiff “plann[ed] … on modifying or amending the

complaint” in light of the resolution adopted by the House shortly before the status conference

began on October 31. Transcript of Oct. 31, 2019 Status Conference at 6. We have now had the

opportunity to review the House’s October 31 Resolution, and we have concluded that

declaratory relief is no longer necessary on the question whether the subpoena issued by the

House Defendants to Plaintiff is authorized by, and valid under, House Rules. We expect to file

an amended complaint in the coming days that will eliminate that request. As we represented

during the October 31 status conference, the amended complaint will not give rise to any need to

amend the briefing schedule adopted by the Court.

       2. The Court observed at the status conference that this case “is a matter of great public

interest and a matter of great urgency to the country,” and for that reason the Court emphasized

that its “overarching concern is that we get all this done as soon as possible so we can move
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forward with a briefing schedule … and bring this case to a resolution.” Id. Given the national

importance of resolving this case as expeditiously as possible in light of the House’s pending

impeachment proceedings, the Court placed the case on a very aggressive briefing schedule and

suggested that it hoped to resolve this case “by the end of December or early January.” Id. at 18.

        3. In order to ensure that the Court is able to achieve this objective, we respectfully

submit that the Court should clarify its order setting a briefing schedule to expressly specify that

the parties taking a position on the merits (i.e., the House Defendants and the President) should

set forth their merits arguments in their briefs in addition to any jurisdictional and/or

justiciability arguments they wish to advance. Complete briefing of all the issues will enable the

Court to enter final judgment in the case on the ambitious, but achievable, schedule it has

adopted. If, however, the parties were to limit their briefs to jurisdiction and/or justiciability and

the Court rejects Defendants’ arguments, a second round of briefing on the merits would be

necessary, thus frustrating the Court’s ability to resolve this case as expeditiously as possible.

        4. Briefing the merits of the constitutional issues presented in this case should not impose

any hardship on the Defendants. Both the House Defendants and the President have briefed and

argued in the McGahn case the merits of the question whether a Presidential assertion of absolute

immunity against congressional process for a close senior advisor overrides a House subpoena,

so they will not be prejudiced by an express requirement that they set forth their arguments in

this case.



November 4, 2019                                       Respectfully submitted,

                                                       /s/Charles J. Cooper
                                                       Charles J. Cooper, Bar No. 248070
                                                       COOPER & KIRK, PLLC
                                                       1523 New Hampshire Avenue, NW

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                                  Washington, DC 20036
                                  Telephone: (202) 220-9600
                                  Facsimile: (202) 220-9601
                                  Email: ccooper@cooperkirk.com

                                  Counsel for Plaintiff Charles M. Kupperman




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